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9                            UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
       REBECCA MACKINTOSH,                      )   No. CV 20-8670-KK
12                                              )
13             Plaintiff,                       )   ORDER AWARDING EQUAL
                                                )   ACCESS TO JUSTICE ACT
14                    v.                        )   ATTORNEY FEES AND COSTS
15                                              )
       KILOLO KIJAKAZI, Acting                  )
16
       Commissioner of Social Security,         )
17                                              )
18             Defendant.                       )
                                                )
19
               Based upon the parties’ Stipulation for Award and Payment of Attorney
20
       Fees:
21
               IT IS ORDERED that the Commissioner shall pay attorney fees and
22
       expenses the amount of THREE THOUSAND EIGHT HUNDRED NINTY-
23
       EIGHT DOLLARS and TWENTY-TWO CENTS ($3,898.22), and costs under 28
24
       U.S.C. § 1920 in the amount of FOUR HUNDRED DOLLARS ($400.00), as
25
       ///
26
       ///
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       ///
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1      authorized by 28 U.S.C. §§ 2412(d), 1920, subject to the terms of the above-
2      referenced Stipulation.
3
4      Dated: 11/15/2021
                                 __________________________________________
5                                THE HONORABLE KENLY KIYA KATO
6                                UNITED STATES MAGISTRATE JUDGE
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